
41 So.3d 335 (2010)
Richard JACKSON, Appellant,
v.
Sheriff Bobby HADDOCK, et al., Appellee.
No. 1D10-1848.
District Court of Appeal of Florida, First District.
July 20, 2010.
Richard Jackson, pro se, Appellant.
Bill McCollum, Attorney General, Tallahassee, for Appellee.
PER CURIAM.
DISMISSED. See Green Tree Servicing, LLC v. Genaux, 951 So.2d 1000 (Fla. 1st DCA 2007) (dismissing premature appeal of order denying motion for summary judgment).
WOLF, ROBERTS, and ROWE, JJ., concur.
